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     1                    IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
     2                              SOUTHERN DIVISION

     3   UNITED STATES OF AMERICA,          )
                                            )
     4   -vs-                               )     Criminal Case No.
                                            )
     5   YOUSEF RAMADAN,                    )     2:17-cr-20595-MOB

     6                                 )
                     Defendant.        )
     7   _____________________________

     8                        EXCERPT OF MOTION HEARINGS
                                    (FINDINGS ONLY)
     9                           BEFORE THE HONORABLE
                   UNITED STATES DISTRICT JUDGE MARIANNE O. BATTANI
    10                    Detroit, Michigan - April 19, 2018

    11
         APPEARANCES:
    12
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         (Proceedings reported by mechanical stenography.             Transcript
    25    produced by computer.)
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     3   WITNESSES:

     4         None

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    10   EXHIBITS:

    11         None

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     1               Thursday, April 19, 2018

     2               On or about 11:35 a.m.

     3                                    -- --- --

     4               THE COURT:    I would think the only thing important

     5   about that is if there was some discipline or something that he

     6   had or the ultimate resolution that was negative.             Or even

     7   positive.    I guess they should know.

     8               That's all they want to know.         I'm not going to go

     9   into, as I said before, all the detail that some of us might

    10   remember who were involved in that case.           That's not necessary.

    11               MR. MARTIN:    Right.   I agree.

    12               THE COURT:    So I wouldn't do that.       But I do think

    13   that, given all of this discussion, that they should be given

    14   not his FBI personnel file, but sanctions against him should be

    15   turned over to them so they would know what they are.

    16               MR. MARTIN:    Well, that could be a major effort to

    17   uncover that.     That information may not be as readily available

    18   as you would think.       And I'm kind of quite confident that I can

    19   represent that to the Court.

    20               And how much time the government would need to obtain

    21   that information, I don't know.

    22               THE COURT:    Well, I know.       I don't think it's going to

    23   be that time consuming.       All you need to get them is a final

    24   resolution of what happened.        He was -- I don't even remember.

    25   He was fired because he failed to disclose information.               He was
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     1   fired because he lied.

     2               I mean, I think that's enough.

     3               MR. MARTIN:    So any kind of official discipline?

     4               THE COURT:    Pardon me?

     5               MR. MARTIN:    I'm sorry, Your Honor.       Any kind of

     6   official discipline; is that what you're referring to?

     7               THE COURT:    Yes, official discipline.         Yeah.    I don't

     8   think we need to make a bigger deal out of this.

     9               MS. FITZHARRIS:     You know, and findings.        You know, if

    10   there was discipline or anything.         You know, there was clearly

    11   an investigation and there was conduct, we would like to know

    12   what the findings were.

    13               MR. MARTIN:    See, that ...

    14               THE COURT:    Well, that's a big grant.         I think you

    15   can -- it's enough to know that he was -- I don't know what.

    16   Discharged for lying.       Whatever it is.     That's all.

    17               We're not going into the facts of the case.             I don't

    18   think that's necessary.       Because it doesn't make any

    19   difference.     If he lied in this case, you can argue he lied --

    20   or if he lied in that case, he lied in this case.             Or if he

    21   failed to turn over something in that case, maybe he failed to

    22   turn it over in this case.        I don't know if that would be your

    23   argument.

    24               And I would order that you give them that information.

    25               MR. MARTIN:    We will, Your Honor.      If it's something
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     1   that will take a long of time, we'll alert the Court.

     2               THE COURT:    Let me know.

     3               And how about Brown?

     4               MR. MARTIN:    Brown, we have done a check on and we are

     5   confident we met our obligations by not providing anything.

     6               MS. FITZHARRIS:       Meaning, Your Honor, they did not

     7   find anything that would be considered Giglio material?

     8               THE COURT:    Correct.

     9               MR. MARTIN:    Correct.

    10               THE COURT:    Okay.     All right.   In terms of the

    11   information you want on the officers who were there and their

    12   agencies, this is like a witness list, which is not required in

    13   our court in trial.       So I don't think it would be required in a

    14   suppression hearing.       You did have the opportunity, I know, to

    15   ask some of the officers who else was there and, therefore, you

    16   have that information.       And if you want to know if you -- if

    17   you don't know and you want to know which agencies those

    18   individuals were with, I would allow you to -- or order the

    19   government to give you that information.

    20               Okay.   Government, do you understand what I said?             If

    21   she asks you, she or he, asks you for an agency that somebody

    22   was in, you're to turn that over, but other than that you don't

    23   have to give them any other listing.

    24               MR. MARTIN:    Yes, Your Honor.

    25               THE COURT:    And in terms of the unredacted tip report,
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     1   the only testimony we have had is that the whole report was not

     2   seen by the officer; that he only saw the -- I think he said

     3   several lines or something, information there.              There is

     4   indication that this is a false -- that the report may have

     5   had ...

     6               I think this is what the defense is saying is may have

     7   had information that it was checked out.           And it was merely

     8   reported by an incompetent relative.           And if that's in the

     9   report, you can look in the report.           If there is anything in

    10   the pages that have been redacted regarding the mother-in-law

    11   or mother, then that part should be turned over.              Not

    12   addresses.     Just if the mother-in-law reported it and it was

    13   found not to be relied upon

    14               MR. MARTIN:    Yeah.   I have looked at it, Your Honor.

    15   I can tell you there's nothing in the redacted portions that

    16   are about whether the information is reliable or not or was

    17   investigated or was found to be not credible.           There's nothing

    18   like that in there.       I've looked at that.

    19               THE COURT:    I'll take your word for it.         That's fine.

    20               So I'm not going to order that turned over.

    21               The training material:      The training material, the

    22   Court finds does not need to be turned over because it doesn't

    23   appear that the training material would have any relevance from

    24   the testimony that's come in so far to the actual statement and

    25   the subsequent finding of the guns.
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     1               The retention policies, that goes to whether the video

     2   or notes were destroyed and the Court finds the government had

     3   no responsibility for the video given the affidavit of the

     4   Airport Authority as to who controlled the videos.

     5               Nobody asked -- I understand now that Mr. Ramadan

     6   asked for an audio, but nobody asked the government to preserve

     7   this.    And at that point how would the government even know to

     8   preserve a video with no audio because there was no allegation

     9   by the officers who testified.

    10               And, in fact, on the contrary, they said he wasn't

    11   beaten up.     He said he was.     But it would be nice to have the

    12   video for that.      But if they did not control it and it was in

    13   the hands of the third-party and the retention policy is seven

    14   days, the Court is not going to -- well, it's not going to

    15   sanction the government.       And there is no video to turn over

    16   and the Court is not going to sanction the government on

    17   that.

    18               Also, the notes, the officers testified about the

    19   officer taking the notes and then giving them to this

    20   Armentrout.

    21               Well, who did the notes?

    22               MR. MARTIN:    Officer Armentrout did the notes and then

    23   he provided them to Schmeltz to do the report.

    24               THE COURT:    Officer Schmeltz to do the report.          The

    25   officer testified he incorporated them into the report and then
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     1   destroyed the notes.

     2               The question there would be is there some policy?               I

     3   think that's probably what the defense is asking for.              Is there

     4   some policy that says the notes should not be destroyed?               If

     5   there is such a policy or a policy on note retention, I want

     6   that turned over to the defendant.

     7               As to the Giglio information, I think we've already

     8   covered all of that.      I don't think there's anything left on

     9   that.

    10               As to Robinson's notes, the Court has already ordered

    11   that that's -- his E-mails are to be turned over and if there's

    12   any existing report to be turned over -- I understand the

    13   photos that were in the E-mails were part of what we saw at the

    14   last hearing, but the time lines may become important to the

    15   defense.    So, therefore, the E-mails are to be turned over.

    16               MR. MARTIN:    We've done that already, Your Honor.

    17               THE COURT:    Okay.    And the Court is not going to

    18   strike Robinson's testimony so far or Armentrout's.

    19               Did I miss any of these?

    20               MR. MARTIN:    I think you got them all.

    21               MS. FITZHARRIS:       I agree, Your Honor.

    22               THE COURT:    Okay.    Is there anything else?       Any other

    23   motion that we haven't covered here today?

    24               Defense?

    25               MS. FITZHARRIS:       No, Your Honor.
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      1              THE COURT:     Government?

      2              MR. MARTIN:     We haven't directly addressed the

      3   government's motion in limine to limit the impeachment of

      4   Mr. Thomas once he does take the stand.          I think given the

      5   Court's ruling, we can see how it plays out during the course

      6   of the hearing.

      7              THE COURT:     I think we will see how it plays out

      8   during the course of the hearing after you turn over the

      9   information.

     10              All right.     Thank you.    The hearing is set for May ...

     11              MR. DENSEMO:     May 23rd, Your Honor.

     12              THE COURT:     Thank you.    May 23rd.

     13         (End of excerpt.)

     14         (At 4:15 p.m., matter concluded.)

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      1                      C   E   R    T   I   F   I   C   A   T   E

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      3              I, Darlene K. May, certify that the foregoing is a

      4   correct transcript from the record of proceedings in the

      5   above-entitled matter.         I further certify that the transcript

      6   fees and format comply with those prescribed by the Court and

      7   the Judicial Conference of the United States.

      8

      9   April 20, 2018                  /s/ Darlene K. May
          Date                            Darlene K. May, CSR, RPR, CRR, RMR
     10                                   Federal Official Court Reporter
                                          Michigan License No. 6479
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